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                       IN THE UNITED STATESDJ8TRICiiOURT
                       FOR THE MIDDLE DISTIUCT OF ALABAMA
                               NORTHERN         Np 2: 12

 RREF RB-AL SLDL, LLC,                           )[
                                                                   rL
              Plaintiff,                         )
                                                 )
 V.                                              )

 SAXON LAND DEVELOPMENT
                                                 )
                                                 )CIVIL ACTION       NOkA           qF-Th1
 LLC, CLIFFORD W.
 CLEVELAND, AND RICHARD M.                       )
 DORSEY,                                         )
                                                 )
              Defendants.                        )
                                          COMPLAINT

             COMES NOW, RREF RB-AL SLDL, LLC ("Plaintiff') and for its

complaint against defendants Saxon Land Development LLC ("Borrower"),

Clifford W. Cleveland ("CWC"), and Richard M. Dorsey ("RMD", and together

with CWC the "Guarantors"; the Guarantors, together with the Borrower, the

"Defendants"), states as follows:

                            PARTIES, JURISDICTION, & VENUE
             1.     Plaintiff is a limited liability company organized under the laws of the

State of Alabama. The sole member of Plaintiff is RREF RB Acquisitions, LLC, a

limited liability company organized under the laws of the State of Delaware. The

sole member of RREF RB Acquisitions, LLC is Rialto Real Estate Fund, LP, a

limited partnership organized under the laws of the State of Delaware. The general


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partner of Rialto Real Estate Fund, LP is Rialto Partners GP, LLC, a limited

liability company organized under the laws of the State of Delaware. The sole

limited partner of Rialto Real Estate Fund, LP is Lennar Distressed Investments,

LLC, a limited liability company organized under the laws of the State of

Delaware. The sole member of Rialto Partners GP, LLC is Rialto Capital

Management, LLC, a limited liability company organized under the laws of the

State of Delaware. The sole member of Lennar Distressed Investments, LLC is

Lennar Corporation, a corporation organized under the 'aws of the State of

Delaware with its principal place of business in Florida. The sole member of

Rialto Capital Management, LLC is Lennar Corporation, a corporation organized

under the laws of the State of Delaware with its principal place of business in

Florida.

            2.    Defendant Borrower is a limited liability company organized under

the laws of the State of Alabama. Upon information and belief, Borrower's

members are Defendant CWC and Defendant RMD.

            3.    Upon information and belief, Defendant CWC is a citizen and resident

of the State of Alabama and is over the age of nineteen (19) years.

            4.    Upon information and belief, Defendant RIVID is a citizen and resident

of the State of Alabama and is over the age of nineteen (19) years.




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             5.    Therefore, for diversity purposes, Plaintiff is a citizen of the States of

Delaware and Florida and Defendants are citizens of the State of Alabama.

             6.    The amount in controversy, exclusive of interest and costs, exceeds

$75,000.00, and complete diversity exists between Plaintiff on the one hand and

the Defendants on the other.

             7.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332. Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                                  STATEMENT OF FACTS

The Saxon Loan

             8.    Regions Bank ("Original Lender") made a loan (the "Saxon Loan") to

Borrower in the original principal amount of $711,696.00 for the acquisition of

certain real property in Elimore County, Alabama (the "Saxon Project").

             9.    The Saxon Loan is evidenced by, among other documents and

instruments, (a) that certain Promissory Note dated February 19, 2008 in the

original principal amount of $711,696.00, made by Borrower in favor of Original

Lender (as modified or amended, the "Saxon Note"), and (b) that certain Mortgage

dated May 29, 2003 recorded in Book 2003, Page 43478 in the Office of the Judge

of Probate, Elmore County, Alabama, as amended by that certain Loan

Modification Agreement dated February 18, 2008 recorded in Book 2008, Page

11708, in the Office of the Judge of Probate, Elmore County, Alabama (as so



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amended, the "Saxon Mortgage"). True and correct copies of the Saxon Note and

the Saxon Mortgage are attached hereto as Exhibits A & B, respectively, and are

incorporated herein by reference.

             10.   As an inducement for Original Lender to make the Saxon Loan,

Guarantors unconditionally, jointly and severally guaranteed payment of the Saxon

Loan and other sums due on Note. The guaranty of CWC is evidenced by that

certain Commercial Guaranty dated February 19, 2008 given by CWC in favor of

Original Lender (the "CWC Guaranty"). A true and correct copy of the CWC

Guaranty is attached hereto as Exhibit C and is incorporated herein by reference.

The guaranty of RIVID is evidenced by that certain Commercial Guaranty dated

February 19, 2008 given by RMD in favor of Original Lender (the "RMD

Guaranty", and together with the CWC Guaranty, the "Saxon Guaranties"). A true

and correct copy of the RMD Guaranty is attached hereto as Exhibit D and is

incorporated herein by reference. The Saxon Note, the Saxon Mortgage, the Saxon

Guaranties, together with any other documents or instruments evidencing or

securing the Saxon Loan, are collectively referred to herein as the "Saxon Original

Loan Documents".

             11.   Original Lender assigned the Saxon Loan and the Saxon Original

Loan Documents to RREF RB Acquisitions, LLC, a Delaware limited liability

company ("RREF"), pursuant to (a) that certain Allonge given by Original Lender



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in favor of RREF, (b) that certain Assignment of Loan Documents dated March 30,

2011 given by Original Lender in favor of RREF, (c) that certain Omnibus

Assignment and Bill of Sale dated March 30, 2011 given by Original Lender in

favor of RREF, and (d) that certain Assignment of Security Instrument given by

Original Lender in favor of RREF and recorded in Book 2011, Page 23596 in the

Office of the Judge of Probate, Elmore County, Alabama (collectively, the "Saxon

First Assignment Documents"). True and correct copies of the Saxon First

Assignment Documents are attached hereto as Exhibit E and are incorporated

herein by reference.

             12. RREF assigned the Saxon Loan and the Saxon Original Loan

Documents to Plaintiff pursuant to (a) that certain Allonge dated as of August 3,

2011 given by RREF in favor of Plaintiff, (b) that certain Assignment of Loan

Documents dated as of August 3, 2011 given by RREF in favor of Plaintiff, and (c)

that certain Assignment of Security Instruments dated as of August 3, 2011 given

by RREF in favor of Plaintiff and recorded in Book 2011, Page 41072 in the Office

of the Judge of Probate, Elmore County, Alabama (collectively, the "Saxon Second

Assignment Documents"). True and correct copies of the Saxon Second

Assignment Documents are attached hereto as Exhibit F and are incorporated

herein by reference. The Saxon Original Loan Documents, as assigned by the

Saxon First Assignment Documents and the Saxon Second Assignment



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Documents, and together with all other documents and instruments evidencing

and/or securing the Saxon Loan executed and/or delivered in connection with any

of the foregoing, are hereinafter referred to as the "Saxon Loan Documents".

              13.   In addition to Defendants obligations under the Saxon Loan

Documents to pay the principal of and interest on the Saxon Loan, the Saxon Loan

Documents provide that Plaintiff is entitled to recover its costs and expenses,

including attorneys' fees incurred in collecting the sums due thereunder.             See

Exhibit A, p. 2.

              14.   Defendants have failed and refused to honor their obligations under

the Saxon Loan Documents. Among other defaults, Defendants have failed to

make payments as and when due pursuant to the Saxon Loan Documents.

             15.    Defendants have been provided with written notice of the default(s),

as evidenced by that certain demand letter dated May 11, 2011 (the "Saxon

Demand Letter"). A true and correct copy of the Saxon Demand Letter is attached

hereto as Exhibit G. All amounts owing under the Saxon Loan Documents are

immediately due and payable.

             16.    The amount outstanding on the Saxon Loan as of October     25,   2011,

exclusive of expenses of collection, attorneys' fees and the costs of this action, is

$712,721.23, which includes outstanding principal in the amount of $639,448.83,

accrued and unpaid interest in the amount of $73,185.81 and late fees in the



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amount of $86.59. Interest continues to accrue daily at the rate provided in the

Saxon Note. Attorneys' fees and other costs of collection also continue to accrue.

The Cleveland Loan

              17.   Regions Bank ("Original Lender") made a loan (the "Cleveland

Loan") to CWC in the original principal amount of$ 192,000.

             18.    The Cleveland Loan is evidenced by, among other documents and

instruments, (a) that certain Promissory Note dated December 8, 2007 in the

original principal amount of $192,000.00, made by CWC in favor of Original

Lender (as modified or amended, the "Cleveland Note"), and (b) that certain

Mortgage dated December 8, 1999 recorded in Book 2065, Page 507 in the Office

of the Judge of Probate, Montgomery County, Alabama, as amended by that

certain Modification of Mortgage Agreement dated April 4, 2000 recorded in Book

2134 Page 0007, in the Office of the Judge of Probate, Montgomery County,

Alabama (as so amended, the "Cleveland Mortgage"). True and correct copies of

the Cleveland Note and the Cleveland Mortgage are attached hereto as Exhibits H

& I, respectively, and are incorporated herein by reference. The Cleveland Note

and the Cleveland Mortgage, together with any other documents or instruments

evidencing or securing the Cleveland Loan, are collectively referred to herein as

the "Cleveland Original Loan Documents".




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              19.   Original Lender assigned the Cleveland Loan and the Cleveland

Original Loan Documents to RREF RB Acquisitions, LLC, a Delaware limited

liability company ("RREF"), pursuant to (a) that certain Allonge given by Original

Lender in favor of RREF, (b) that certain Assignment of Loan Documents dated

June 24, 2011 given by Original Lender in favor of RREF, (c) that certain

Omnibus Assignment and Bill of Sale dated June 24, 2011 given by Original

Lender in favor of RREF, and (d) that certain Assignment of Security Instrument

given by Original Lender in favor of RREF and recorded in RLPY 04170, Page

0763 in the Office of the Judge of Probate, Montgomery County, Alabama

(collectively, the "Cleveland First Assignment Documents"). True and correct

copies of the Cleveland First Assignment Documents are attached hereto as

Exhibit J and are incorporated herein by reference.

             20.    RREF assigned the Cleveland Loan and the Cleveland Original Loan

Documents to Plaintiff pursuant to (a) that certain Allonge dated as of October 20,

2011 given by RREF in favor of Plaintiff, (b) that certain Assignment of Loan

Documents dated as of October 20, 2011 given by RREF in favor of Plaintiff, and

(c) that certain Assignment of Security Instruments dated as of October 20, 2011

iven by RREF in favor of Plaintiff and recorded in Book 4200, Page 553 in the

Office of the Judge of Probate, Montgomery County, Alabama (collectively, the

"Cleveland Second Assignment Documents"). True and correct copies of the



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Cleveland Second Assignment Documents are attached hereto as Exhibit K and

are incorporated herein by reference. The Cleveland Original Loan Documents, as

assigned by the Cleveland First Assignment Documents and the Cleveland Second

Assignment Documents, and together with all other documents and instruments

evidencing and/or securing the Cleveland Loan executed and/or delivered in

connection with any of the foregoing, are hereinafter referred to as the "Cleveland

Loan Documents".

             21.   In addition to CWC's obligations under the Cleveland Loan

Documents to pay the principal of and interest on the Cleveland Loan, the

Cleveland Loan Documents provide that Plaintiff is entitled to recover its costs and

expenses, including attorneys' fees incurred in collecting the sums due thereunder.

See Exhibit I, p. 4.

             22.   CWC has failed and refused to honor his obligations under the

Cleveland Loan Documents. Among other defaults, CWC has failed to make

payments as and when due pursuant to the Cleveland Loan Documents.

             23.   CWC has been provided with written notice of the default(s), as

evidenced by that certain demand letter dated October 4, 2011 (the "Cleveland

Demand Letter"). A true and correct copy of the Cleveland Demand Letter is

attached hereto as Exhibit L. All amounts owing under the Cleveland Loan

Documents are immediately due and payable.



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            24.    The amount outstanding on the Cleveland Loan as of October 25,

2011, exclusive of expenses of collection, attorneys' fees and the costs of this

action, is $176,022.42, which includes outstanding principal in the amount of

$158,000.00, accrued and unpaid interest in the amount of $17,991.15 and late fees

in the amount of $31.27. Interest continues to accrue daily at the rate provided in

the Cleveland Note. Attorneys' fees and other costs of collection also continue to

accrue.

                                         COUNT I
                  Breach of Contract - Saxon Loan Documents - Borrower

            25.    Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

            26.    Default has occurred in the repayment of the Saxon Loan and all

amounts due and owing thereon are immediately payable.

            27.    Plaintiff has made demand for payment of the outstanding balance due

on the Saxon Loan.

            28.   Borrower is in default in the performance of its obligations under the

Saxon Loan Documents.

            29.   Despite written demand, Borrower has failed to pay the amounts due

under the terms of the Saxon Loan Documents.

            WHEREFORE, Plaintiff demands judgment against Borrower for the

principal indebtedness outstanding under the Saxon Loan, plus accrued and


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accruing interest, late charges, expenses of collection, including attorneys' fees,

and costs, as well as such other, further and different relief to which Plaintiff may

be entitled and is just and proper in this action.

                                          COUNT II
                   Breach of Contract - Saxon Loan Documents - Guarantors

             30.     Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

             31.     Default has occurred in the repayment of the Saxon Loan and all

amounts due and owing thereon are immediately payable.

             32.    Plaintiff has made demand for payment of the outstanding balance due

on the Saxon Loan.

             33.     Guarantors are in default in the performance of their obligations under

the Saxon Loan Documents.

             34.    Despite written demand, Guarantors have failed to pay the amounts

due under the terms of the Saxon Loan Documents.

             WHEREFORE, Plaintiff demands judgment against Guarantors, jointly and

severally, for the principal indebtedness outstanding under the Saxon Loan, plus

accrued and accruing interest, late charges, expenses of collection, including

attorneys' fees, and costs, as well as such other, further and different relief to which

Plaintiff may be entitled and is just and proper in this action.




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                                     COUNT III
                    Money Had and Received - Saxon Loan Documents

             35.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

             36.   Pursuant to the Saxon Loan Documents, Defendants received money

or the equivalent value of money that, in equity and good conscience, belongs to

Plaintiff

             37.   Plaintiff is entitled to recover from Defendants the amounts due under

the Saxon Loan Documents, plus other legally recoverable fees and costs.

             WHEREFORE, Plaintiff demands judgment against Defendants, jointly

and severally, for the principal indebtedness outstanding under the Saxon Loan,

plus accrued and accruing interest, late charges, expenses of collection, including

attorneys' fees, and costs, as well as such other, further and different relief to which

Plaintiff may be entitled and is just and proper in this action.

                                       COUNT IV
                        Unjust Enrichment - Saxon Loan Documents
             38.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

             39.   Plaintiff conferred a benefit on the Defendants by lending the amounts

available under the Saxon Loan Documents.




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            40.   The Defendants have failed and/or refused to pay to Lender the

amounts owed under the Saxon Loan Documents.

            41.   By retaining the borrowed funds, while not repaying Lender pursuant

to the terms of the Saxon Loan Documents, the Defendants have been unjustly

enriched at Lender's expense.

            42.   Lender has been damaged as a result of the Defendants' failure to pay,

and is entitled to recover from the Defendants the amounts borrowed under the

Saxon Note, plus attorneys' fees and costs.

            WHEREFORE, Plaintiff demands judgment against Defendants, jointly

and severally, for the principal indebtedness outstanding under the Saxon Loan,

plus accrued and accruing interest, late charges, expenses of collection, including

attorneys' fees, and costs, as well as such other, further and different relief to which

Plaintiff may be entitled and is just and proper in this action.


                                      COUNT V
                        Account Stated - Saxon Loan Documents

            43.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

            44.   On or about May 11, 2011, Plaintiffs predecessor in interest, RREF,

sent the Saxon Demand Letter to Defendants stating the amount owed under the




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Saxon Loan Documents as of that date and demanding, among other things,

payment in full of such amount.

             45.    Upon information and belief, Defendants received the Saxon Demand

Letter.

             46.    Defendants have had an opportunity to review the Saxon Demand

Letter and raise any objections regarding the accuracy of the information contained

therein, including, among other things, the amount stated as due.

             47.    No Defendant has ever objected to the amounts set forth in the Saxon

Demand Letter.

             48.    Despite demand, Defendants have failed to pay the total amount due

as set forth in the Saxon Demand Letter. Defendants, jointly and severally, owe

said amount to Plaintiff on account stated.

             WHEREFORE, Plaintiff demands judgment against Defendants, jointly

and severally, for the principal indebtedness outstanding under the Saxon Loan,

plus accrued and accruing interest, late charges, expenses of collection, including

attorneys' fees, and costs, as well as such other, further and different relief to which

Plaintiff may be entitled and is just and proper in this action.

                                         COUNT VI
                   Breach of Contract - Cleveland Loan Documents - CWC

             49.    Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.


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            50.   Default has occurred in the repayment of the Cleveland Loan and all

amounts due and owing thereon are immediately payable.

            51.   Plaintiff has made demand for payment of the outstanding balance due

on the Cleveland Loan.

            52.   CWC is in default in the performance of his obligations under the

Cleveland Loan Documents.

            53.   Despite written demand, CWC has failed to pay the amounts due

under the terms of the Cleveland Loan Documents.

            WHEREFORE, Plaintiff demands judgment against CWC for the principal

indebtedness outstanding under the Cleveland Loan, plus accrued and accruing

interest, late charges, expenses of collection, including attorneys' fees, and costs, as

well as such other, further and different relief to which Plaintiff may be entitled

and is just and proper in this action.

                                   COUNT VII
             Money Had and Received - Cleveland Loan Documents - CWC
            54.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

            55.   Pursuant to the Cleveland Loan Documents, CWC received money or

the equivalent value of money that, in equity and good conscience, belongs to

Plaintiff.




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             56.   Plaintiff is entitled to recover from CWC the amounts due under the

Cleveland Loan Documents, plus other legally recoverable fees and costs.

             WHEREFORE, Plaintiff demands judgment against CWC for the principal

indebtedness outstanding under the Cleveland Loan, plus accrued and accruing

interest, late charges, expenses of collection, including attorneys' fees, and costs, as

well as such other, further and different relief to which Plaintiff may be entitled

and is just and proper in this action.

                                       COUNT VIII
                   Unjust Enrichment - Cleveland Loan Documents - CWC

             57.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

             58.   Plaintiff conferred a benefit on CWC by lending the amounts

available under the Cleveland Loan Documents.

             59.   CWC has failed and/or refused to pay to Lender the amounts owed

under the Cleveland Loan Documents.

             60.   By retaining the borrowed funds, while not repaying Lender pursuant

to the terms of the Cleveland Loan Documents, CWC has been unjustly enriched at

Lender's expense.

             61.   Lender has been damaged as a result of CWC's failure to pay, and is

entitled to recover from CWC the amounts borrowed under the Cleveland Note,

plus attorneys' fees and costs.


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             WHEREFORE, Plaintiff demands judgment against CWC for the principal

indebtedness outstanding under the Cleveland Loan, plus accrued and accruing

interest, late charges, expenses of collection, including attorneys' fees, and costs, as

well as such other, further and different relief to which Plaintiff may be entitled

and is just and proper in this action.

                                        COUNT IX
                    Account Stated - Cleveland Loan Documents - CWC

             62.   Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein

             63.   On or about October 4, 2011, Plaintiffs predecessor in interest,

RREF, sent the Cileveland Demand Letter to Defendants stating the amount owed

under the Cleveland Loan Documents as of that date and demanding, among other

things, payment in full of such amount.

             64.   Upon information and belief, CWC received the Cleveland Demand

Letter.

             65.   CWC has had an opportunity to review the Cleveland Demand Letter

and raise any objections regarding the accuracy of the information contained

therein, including, among other things, the amount stated as due.

             66.   CWC has never objected to the amounts set forth in the Cleveland

Demand Letter.




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            67. Despite demand, CWC has failed to pay the total amount due as set

forth in the Cleveland Demand Letter. CWC owes said amount to Plaintiff on

account stated.

            WHEREFORE, Plaintiff demands judgment against CWC for the principal

indebtedness outstanding under the Cleveland Loan, plus accrued and accruing

interest, late charges, expenses of collection, including attorneys' fees, and costs, as

well as such other, further and different relief to which Plaintiff may be entitled

and is just and proper in this action.


                                                 Heather A. Lee (LEEHE6873)
                                                 David H. Breland (BRELD7 142)
                                                 Attorneys for Plaintiff

OF COUNSEL:

BURR & FORMAN     LLP
420 North 20th Street
Suite 3400
Birmingham, Alabama 35203
Telephone: (205) 251-3000
Facsimile: (205) 458-5100

PURSUANT TO THE FEDERAL RULES OF CIVIL PROCEDURE
PLAINTIFF REQUESTS SERVICE OF THE DEFENDANTS VIA SPECIAL
PROCESS SERVER AT THE FOLLOWING ADDRESSES:

Saxon Land Development LLC                      Clifford W. Cleveland
c/o Registered Agent                            744 E. Main Street
Clifford W. Cleveland                           Prattville, Alabama 36067-3620
744 E. Main Street
Prattville, Alabama 36067-3620



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Richard M. Dorsey
548 Selma Highway
Prattville, Alabama 36067-350 1




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